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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:05CR162
                       Plaintiff,                 )
                                                  )
       vs.                                        )              ORDER
                                                  )
HILARIO FELIX,                                    )
                                                  )
                       Defendant.                 )
       This matter is before the court on the motion for an extension of time by defendant
Hilario Felix (Felix) (Filing No. 112). Felix seeks an extension until March 6, 2006, in which
to file pretrial motions in accordance with the progression order (Filing No. 69). Felix has
filed an affidavit wherein he consents to the motion and acknowledges he understands the
additional time may be excludable time for the purposes of the Speedy Trial Act (Filing No.
114). Upon consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Felix's motion for an extension of time (Filing No. 112) is granted.
Defendant Felix is given until on or before March 6, 2006, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
February 28, 2006 and March 6, 2006, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason
defendant's counsel requires additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       DATED this 28th day of February, 2006.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
